          Case 18-06009 Document 4 Filed in TXSB on 08/01/18 Page 1 of 2



B2500A (Form 2500A) (12/15)

                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

                                                §
IN RE:                                          §
                                                §           CASE NO. 16-60040 (DRJ)
LINN ENERGY, LLC, et al                         §
                                                §           CHAPTER 11
         DEBTORS                                §


JASON R. SEARCY, CHAPTER 7        §
TRUSTEE FOR THE BANKRUPTCY        §
ESTATE OF RINCON ISLAND LIMITED   §
LIMITED PARTNERSHIP               §
                                  §
V.                                §                         ADV. NO. ______________
                                  §
BERRY PETROLEUM COMPANY, LLC,     §
CALIFORNIA STATE LANDS            §
COMMISSION, SOCORRO CAPITAL, LLC, §
TORCH OPERATING COMPANY, AND      §
TORCH ENERGY FINANCE FUND         §
LIMITED PARTNERSHIP-I, AND TORCH §
ENERGY FINANCE COMPANY            §


                   SUMMONS IN AN ADVERSARY PROCEEDING

To the above-named Defendant: Socorro Capital, LLC
                                      c/o Registered Agent, Jeff C. Lamberth
                                      21 Waterway Ave., Suite 425
                                      The Woodlands, Texas 77380

YOU ARE SUMMONED and required to file a motion or answer to the complaint which is
attached to this summons with the clerk of the bankruptcy court within 30 days after the date of
issuance of this summons, except that the United States and its offices and agencies shall file a
motion or answer to the complaint within 35 days.

               Address of the clerk: 515 Rusk Ave.
                                     Houston, TX 77208
             Case 18-06009 Document 4 Filed in TXSB on 08/01/18 Page 2 of 2



At the same time, you must also serve a copy of the motion or answer upon the plaintiff's
attorney.

                     Name and Address of Plaintiff's Attorney:                         Joshua P. Searcy
                                                                                       Jason R. Searcy
                                                                                       SEARCY & SEARCY, P.C.
                                                                                       P. O. Box 3929
                                                                                       Longview, TX 75606

If you make a motion, your time to answer is governed by Fed. R. Bankr. P. 7012.

IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED
TO BE YOUR CONSENT TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT
AND JUDGMENT BY DEFAULT MAY BE TAKEN AGAINST YOU FOR THE RELIEF
DEMANDED IN THE COMPLAINT.



                                                                                              (Clerk of the Bankruptcy Court)



Date:                                      By:                                                     (Deputy Clerk)




\\server\Data\Files\Cases\Rincon Island Ltd Partnership\Ch 7 #16-33174 JRS Tte - converted 1-8-18\Adversaries\JRS, Trustee v. Socorro Capital
et al\Pleadings\Summons\Summons - Socorro.wpd
                                                                                                                             Page 2 of 2
